                        IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE


 IPA TECHNOLOGIES INC.,

                      Plaintiff,                    C.A. No. 1:16-cv-1266-RGA
 v.

 AMAZON.COM, INC., and AMAZON
 DIGITAL SERVICES LLC,

                      Defendants.


                         PLAINTIFF IPA TECHNOLOGIES INC.’S
                      NOTICE OF REDUCTION OF ASSERTED CLAIMS

       Plaintiff IPA Technologies Inc. (“IPA”) hereby provides notice of its further reduction of

asserted claims against Defendants Amazon.com, Inc. and Amazon Digital Services LLC

(collectively “Amazon”). IPA first reduced its asserted claims on August 10, 2020 pursuant to

the Court’s orders during the July 24, 2020 discovery conference, and IPA is now reducing its

asserted claims again in an effort to streamline the issues for trial.

       IPA hereby narrows the claims asserted against Amazon in this matter to the following:

       1. U.S. Patent No. 6,851,115: Claims 10, 29, 34, 35, and 38; and

       2. U.S. Patent No. 7,069,560: Claims 28 and 50.


       IPA previously served infringement contentions and expert reports for the above-

identified claims, and Amazon has served invalidity contentions and expert reports covering

these claims.




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Dated: June 18, 2021                 BAYARD, P.A.

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